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                        EXHIBIT 09
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                                                                      2XI 111!11 I 33


 1                      THE UNITED STATES DISTRICT COURT

 2                            FOR THE DISTRICT OF OREGON

 3                                 MEDFORD DIVISION

 4

 5   ARNAUD PARIS,                         )
                                           )
 6                   Petitioner,           )    case No. 1:22-cv-01593-MC
                                           )
 7                      v.                 )
                                           J    December 5, 2022
 8   HEIDI MARIE BROWN,                     )
                                            )
 9                   Respondent.            )
     _______________                        )
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13                                    COURT TRIAL

14                   EXCER.PT OF TRANSCRIPT OF PROCEEDINGS

15                 BEFORE THE HONORABLE MICHAEL J. MCSHANE

16                     UNITED STATES DISTRICT COURT JUDGE

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 1                                     APPEARANCES

 2   FOR THE PETITIONER:
                                  DAVID B. STARKS
 3                                McKinley Irvin PLLC
                                  1501 4th Avenue
 4                                Suite 1750
                                  Seattle, WA 98101
 5

 6   FOR THE RESPONDENT:
                                  KATELYN D. SKINNER
 7                                Buckley Law PC
                                  5300 Meadows Road
 a                                Suite 200
                                  Lake Oswego, OR 97035-8617
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15   COURT REPORTER:           Kendra A. Steppler, RPR, CRR
                               United States District Courthouse
16                             District of Oregon
                               405 E. 8th Avenue, Room 2100
17                             Eugene, OR 97401

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 1                       (Excerpt of proceedings began at 2:34 PM.)
 2

 3                     THE COURT:
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 9              It certainly had an impact on whether he should have seen
10      it or not seen it.              And there's a lot of things people should
11      probably not see as they're getting divorced, and, yet, they
12      snoop through people's stuff.                     They get on people's computers,
13      they get on their phones, they go through their bags.                                     It
14      happens, and it has an impact on what they believe to be
15      happening, for better or for worse.
16              so I'm going to allow it.                  You know, I know that the
17      Respondent's position is if it doesn't come in, then I have no
18      jurisdiction, because Mr. Paris would not have known that, in
19      fact, the children were being -- going to                                were being
20      purposely held in the United States and were not to be returned
21      to France.
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 5                   MR. STARKS:            So perhaps we're to the point now where
 6   I offer it?
 7                   THE COURT:           Yes.
 8                   MR. STARKS:            Okay.       So I'm offering Exhibit 23.
 9                    THE COURT:           I'm going to allow it over objection.
10                   MS. SKINNER:            And, Your Honor, if I could just make a
11   few more points on the record for this one.                                 I would cite to
12   In re Grand Jury Investigation, 810 F.3d 1110, a Ninth Circuit
13   case, where, in order for the Court to initially make a
14   determination on whether or not the crime fraud exception
15   exists, there has to be a prima facie showing by Petitioner
16   that there's evidence to support the crime fraud exception.
17   And that evidence has to be admissible, lawfully obtained
18   evidence.
19           The Petitioner has no admissible or lawfully obtained
20   evidence to support a prima facie case that the Court should
21   even consider the crime fraud exception.
22                    THE COURT:           I'm just looking at my own experience.
23   Typically, I'm sent the privileged communication.                                      I review it.
24   And usually there is no other evidence to suggest a fraud,
25   except the communication.


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 9                 MS. SKINNER:     And, Your Honor, I would just place,
10     again, a final objection on the record to -- objecting to the
11     fact that now my client's attorney-client privilege has now
12     been waived without her consent.          And we'll need to then put a
13     case on as to -- otherwise what we would be objecting to is
14     privileged communications between her and her lawyer in order
15     to argue this issue.
16           So, effectively, the door has been opened to'
17     attorney-client confidential communications to which she did
18     not ·consent to and now is being placed in a position where she
19     must present privileged communications in order to rebut this
2o     evidence.
21                 THE COURT:     That's up to you.         But this, all I'm
22     saying, is coming in under a waiver of privilege.
23                 MS. SKINNER:      And I would also object that this is a
24     hearsay statement that is in no way able to be authenticated by
25     this witness.     He is not a party to any of this communication,


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 1   and so it's hearsay.

 2             • THE COURT:     Well, at some point, I just use common
 3   sense on what the reality of this is.           And I'm sure Mr. Starks
 4   will be asking your client if, in fact, she wrote this.                   If she

.5   denies it, then we can take it up at that time.
 6               MS. SKINNER:     Thank you, Your Honor.

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 8                (Excerpt of proceedings ended at 2:39 PM.)

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      1                            CE RT I F I CAT E
      2
      3                     Arnaud Paris v. Heidi Marie Brown
      4                                l:22-cv-01593-MC
      5                              Court Trial Excerpt
      6                               Decembers, 2022
      7
      8         I certify, by signing below, that the foregoing is a true
      9   and correct transcript of the record, taken by stenographic
     10   means, of the proceedings in the above-entitled cause.                    A
     11   transcript without an original signature, conformed signature,
     12   or digitally signed signature is not certified.
     13
'1
     14   /s/Kendra A. Steppler, RPR, CRR
          official court Reporter                  Signature Date: 1/10/2023
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